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                    Case 1:25-cv-00532-TNM              Document 56-5     Filed 04/16/25      Page 1 of 2




                                      IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF COLUMBIA


            THE ASSOCIATED PRESS,

                             Plaintiff,

            v.                                                     Case No. 25-cv-532-TNM

            TAYLOR BUDOWICH, et al.,

                             Defendants.


                                          DECLARATION OF CHRIS MEGERIAN

                     Chris Megerian, pursuant to 28 U.S.C. § 1746, declares as follows:

                     I submit this declaration in support of the Motion to Enforce Preliminary Injunction filed

            by Plaintiff The Associated Press (“the AP”) in the above-captioned matter. I have personal

            knowledge of the facts set forth herein and would be competent to testify to them.

                     1.      I am a White House reporter for the AP. Before joining the AP, I worked at the

            Los Angeles Times in Washington and California and The Star-Ledger in New Jersey.

                     2.      On April 14, 2025, I spoke in the White House with Harrison Fields, who serves

            as Special Assistant to the President and Principal Deputy Press Secretary.

                     3.      In light of the order entered in this case, I asked Mr. Fields if an AP photographer

            and I could join the pool for an event that was about to start in the Oval Office. Mr. Fields

            refused and said the White House had established a rotation.

                     4.      I asked Mr. Fields how the AP would be included in the text wire service rotation

            and whether the photographer could enter the Oval Office as part of what is currently the non-

            rotating group of pool photographers.




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                    Case 1:25-cv-00532-TNM              Document 56-5     Filed 04/16/25      Page 2 of 2




                     5.      Mr. Fields told me that because this is an ongoing legal matter, there will be no

            changes made to the pool at this point. I reminded Mr. Fields that the court order in this case is

            not stayed, and Mr. Fields responded again that it is an ongoing legal matter.

                     I declare under penalty of perjury that the foregoing is true and correct.
                               4/14/2025
            Executed on

                                                                   ___________________________
                                                                   Chris Megerian




                                                               2
